      Case 2:13-cv-00193 Document 809 Filed in TXSD on 11/25/14 Page 1 of 4



            IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF TEXAS
                      CORPUS CHRISTI DIVISION

MARC VEASEY, et al.,                  §
                                      §
             Plaintiffs,              §
VS.                                   §       CIVIL ACTION NO. 2:13-CV-00193
                                      §
RICK PERRY, et al.,                   §
                                      §
             Defendants.              §

UNOPPOSED MOTION TO WITHDRAW G. DAVID WHITLEY AS COUNSEL

       Defendants, Steve McCraw, Rick Perry, State of Texas, and John Steen

(“Defendants”), move to withdraw G. David Whitley as attorney in this matter and

state as follow:


          1. G. David Whitley is one of several attorneys for Defendants and other

             attorneys at the Office of the Attorney General will remain responsible

             for representing the Defendants in the above-captioned matter.

          2. Withdrawal of Mr. Whitley as attorney of record will not cause undue

             delay and will not have a material adverse effect on Defendants’

             interests.


       WHEREFORE, Defendants respectfully request leave to allow G. David

Whitley to withdraw as counsel in this matter.




                                          1
    Case 2:13-cv-00193 Document 809 Filed in TXSD on 11/25/14 Page 2 of 4



Dated:     November 25, 2014

                                   GREG ABBOTT
                                   Attorney General of Texas

                                   DANIEL T. HODGE
                                   First Assistant Attorney General

                                   JONATHAN F. MITCHELL
                                   Solicitor General

                                   J. REED CLAY, JR.
                                   Special Assistant and Senior Counsel
                                   to the Attorney General
                                   Southern District of Texas No. 1160600

                                   /s/ John B. Scott
                                   JOHN B. SCOTT
                                   Deputy Attorney General for Civil Litigation
                                   Southern District of Texas No. 10418
                                   Texas State Bar No. 17901500
                                   ATTORNEY-IN-CHARGE

                                   ADAM W. ASTON
                                   Deputy Solicitor General
                                   Southern District of Texas No. 2157041

                                   G. DAVID WHITLEY
                                   Assistant Deputy Attorney General
                                   Southern District of Texas No. 2080496

                                   STEPHEN RONALD KEISTER
                                   Assistant Attorney General
                                   Southern District of Texas No. 18580

                                   JENNIFER MARIE ROSCETTI
                                   Assistant Attorney General
                                   Southern District of Texas No. 224780

                                   LINDSEY ELIZABETH WOLF
                                   Assistant Attorney General
                                   Southern District of Texas No. 2292940




                                     2
Case 2:13-cv-00193 Document 809 Filed in TXSD on 11/25/14 Page 3 of 4



                               STEPHEN LYLE TATUM, JR.
                               Assistant Attorney General
                               Southern District of Texas No. 2338090

                               209 West 14th Street
                               P.O. Box 12548
                               Austin, Texas 78711-2548
                               (512) 475-0131

                               BEN A. DONNELL
                               Donnell, Abernethy & Kieschnick
                               555 N. Carancahua, Suite 1770
                               Corpus Christi, Texas 78401-0853
                               Southern District of Texas No. 5689

                               COUNSEL FOR THE STATE OF TEXAS,
                               RICK PERRY, JOHN STEEN, and STEVE
                               MCCRAW




                                 3
    Case 2:13-cv-00193 Document 809 Filed in TXSD on 11/25/14 Page 4 of 4



                         CERTIFICATE OF SERVICE

       I hereby certify that on November 25, 2014, a true and correct copy of the
foregoing document was served via the Court’s ECF system to all counsel of record.




                                     /s/ John B. Scott
                                     JOHN B. SCOTT




                                        4
